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                EXHIBIT 1
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    c12) United States Patent                                                 (10) Patent No.:                     US 11,085,233 Bl
           Flannery et al.                                                    (45) Date of Patent:                           Aug. 10, 2021


    (54)   GATE APPARATUS WITH SPRINGLESS                                 (52)    U.S. Cl.
           AUTOMATIC RETURN GATE                                                  CPC ............ E06B 7132 (2013.01); E05B 1712038
                                                                                                (2013.01); E05B 63/14 (2013.01); E05B
    (71)   Applicant: Carlson Pet Products, Inc., Longboat                                631244 (2013.01); E05B 65/0007 (2013.01);
                      Key, FL (US)                                                       E05C 1110 (2013.01); E05C 1112 (2013.01);
                                                                                        E05F 11068 (2013.01); E05F 3/18 (2013.01);
    (72)   Inventors: Mark A. Flannery, Longboat Key, FL                                E05F 3/20 (2013.01); E05F 15150 (2015.01);
                      (US); Porter R. Million, Minneapolis,                              E06B 9102 (2013.01); E06B 9/04 (2013.01);
                      MN (US)                                                                   E06B 111022 (2013.01); E05Y 2800/426
                                                                                             (2013.01); E05Y 2900/40 (2013.01); E06B
    (73)   Assignee: Carlson Pet Products, Inc., Longboat                              2009/002 (2013.01); YJOT 292/0976 (2015.04)
                     Key, FL (US)                                         (58)    Field of Classification Search
                                                                                  CPC . E06B 7/32; E06B 11/022; E06B 9/02; E06B
    (*)    Notice:      Subject to any disclaimer, the term ofthis                                  9/04; E06B 2009/002; E05B 63/244;
                        patent is extended or adjusted under 35                                        E05B 63/14; E05B 65/007; E05B
                        U.S.C. 154(b) by O days.                                                 17/2038; E05F 1/068; E05F 3/18; E05F
                                                                                              3/20; E05F 15/50; E05C 1/12; E05C 1/10
    (21)   Appl. No.: 16/569,667                                                  See application file for complete search history.
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    (22)   Filed:       Sep. 12, 2019
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    (63)   Continuation of application No. 15/451,255, filed on                                (Continued)
           Mar. 6, 2017, now Pat. No. 10,415,290, which is a             Primary Examiner - Katherine W Mitchell
                            (Continued)                                  Assistant Examiner - Abe Massad

    (51)   Int. Cl.                                                      (57)                     ABSTRACT
           E06B 7132               (2006.01)                             A gate apparatus having an automatically returning gate, an
           E05C 1112               (2006.01)                             upper latch operated by an upper button, and a lower latch
           E05B 63124              (2006.01)                             operated by an upper finger handle. Each of the latches must
           E05B 63/14              (2006.01)                             be opened to open the gate. The gate returns without the aid
           E06B 9102               (2006.01)                             of a spring to a position close to the closed position or to the
           E05F 15150              (2015.01)                             closed position by the structure of a pivot or hinge connec-
           E06B 9/04               (2006.01)                             tion between the gate and the frame of the gate. Gate tubes
           E05B 17120              (2006.01)                             are rectangular in section for their entire length. Wood
           E06B 11102              (2006.01)                             panels are included in the gate and excluded from other
           E05F 3/20               (2006.01)                             portions of the gate apparatus to make the gate stand out to
           E05F 3/18               (2006.01)                             the user seeking to open the gate.
                             (Continued)                                                     2 Claims, 6 Drawing Sheets




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                                               Fig.2A
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               Fig.3B
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                                                                 Fig.4B
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            Fig.SA
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                Fig.6A
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                                       Fig.6B I
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          GATE APPARATUS WITH SPRINGLESS                                the vertical and horizontal support members of the gate and
             AUTOMATIC RETURN GATE                                      of the barrier frame such that the gate returns automatically
                                                                        to a closed position or close to a closed position.
       This application is a continuation of U.S. patent applica-          Another feature of the present invention is the provision
    tion Ser. No. 15/451,255 filed Mar. 6, 2017 (U.S. Pat. No. 5 in a gate apparatus, of a barrier frame and a gate swingably
    10,415,290 issued Sep. 17, 2019) and claims the benefit             engaged to the barrier frame, where the gate includes
    thereof under 35 U.S.C. § 120, which application is a               vertical and horizontal support members, where the barrier
    continuation of U.S. patent application Ser. No. 14/106,834         frame includes vertical and horizontal support members, and
    filed Dec. 15, 2013 (U.S. Pat. No. 9,587,426 issued Mar. 7,         where an axis on which the gate pivots includes both vertical
    2017) and claims the benefit thereof under 35 U.S.C. § 120, 10 and horizontal components such that the gate returns auto-
    which application is a continuation of U.S. patent applica-         matically to a closed position or close to a closed position
    tion Ser. No. 13/337,718 filed Dec. 27, 2011 (U.S. Pat. No.         under the influence of gravity.
    8,607,502 issued Dec. 17, 2013) and claims the benefit                 Another feature of the present invention is the provision
    thereof under 35 U.S.C. § 120, all of which applications are        in a gate apparatus, of a barrier frame and a gate swingably
    hereby incorporated by reference in their entireties into this 15 engaged to the barrier frame with a pivot connection, of a
    application.                                                        first face of the pivot connection being fixed relative to the
                                                                        gate and being oblique relative to an axis of the pivot
                    FIELD OF THE INVENTION                              connection so as to slightly tilt the axis of the pivot con-
                                                                        nection so as to provide a horizontal component to the axis
       The present invention relates to a gate apparatus for a 20 of the pivot connection.
    passageway of a home or residence, to a gate apparatus                 Another feature of the present invention is the provision
    having a gate that, after being opened, returns in the direc-       in a gate apparatus, of a barrier frame and a gate swingably
    tion of the closed state without the aid of a spring under the      engaged to the barrier frame with a pivot connection, of the
    influence of gravity, and to a gate apparatus having upper          second face being fixed relative to the barrier frame and
    and lower latches, where the upper latch extends horizon- 25 being oblique relative to an axis of the pivot connection so
    tally from a frame to the gate and where the lower latch            as to slightly tilt the axis of the pivot connection so as to
    extends vertically from the gate to a frame.                        provide a horizontal component to the axis of the pivot
                                                                        connection.
              BACKGROUND OF THE INVENTION                                  Another feature of the present invention is the provision
                                                                     30 in a gate apparatus, of a barrier frame, a gate swingably
       A home or residence includes passageways. One passage-           engaged to the barrier frame, a first latch apparatus running
    way may lead into and out of the kitchen. Another passage-          from the gate to the barrier frame, and a second latch
    way may be at the top of a staircase. Another passageway            apparatus running from the barrier frame to the gate, where
    may be at a bottom of a staircase. These passageways may            the first latch apparatus includes a finger handle on an upper
    or may not include doors.                                        35 portion of the gate and a lower latch extending from a lower
       A barrier may be positioned in such a passageway to keep         portion of the gate and interacting with a lower horizontal
    small children or pets, such as dogs, in or out of a certain        support member of the barrier frame.
    room, or to keep children from climbing or falling down a              Another feature of the present invention is the provision
    staircase. A barrier may include a gate.                            in a gate apparatus, of a barrier frame, a gate swingably
       The barrier may be a pressure gate apparatus that 40 engaged to the barrier frame, a first latch apparatus running
    squeezes itself between two opposing vertical surfaces such         from the gate to the barrier frame, and a second latch
    as two walls. The pressure gate apparatus may be set up off         apparatus running from the barrier frame to the gate, where
    the floor or may make contact with the floor. The barrier may       the second latch apparatus includes a button on an upper
    be fixed to and between two opposing vertical surfaces, such        portion of the barrier frame and an upper latch extending
    as with screws, and without being squeezed between the two 45 from an upper portion of the barrier frame and interacting
    walls. The barrier may be a free standing gate apparatus such       with an upper portion of the gate.
    as where two opposing walls do not present themselves.                 Another feature of the present invention is the provision
       A gate in a barrier may have features in common with a           in a gate apparatus, of a barrier frame, a gate swingably
    conventional door, door handle and latch. A gate may be             engaged to the barrier frame, a first latch apparatus running
    configured to open with one hand. A gate may have a latch 50 from the gate to the barrier frame, and a second latch
    that is opened by rotating a handle. Fortunately or unfortu-        apparatus running from the barrier frame to the gate, where,
    nately, small children can easily open doors. Fortunately or        for the gate to be opened, each of first and second latches of
    unfortunately, small children can easily close doors.               the first and second latch apparatus must be disengaged from
                                                                        the barrier frame and gate, respectively.
                 SUMMARY OF THE INVENTION                            55    Another feature of the present invention is the provision
                                                                        in a gate apparatus, of a barrier frame, a gate swingably
       A feature of the present invention is the provision in a gate    engaged to the barrier frame, a first latch apparatus running
    apparatus, of a barrier frame and a gate swingably engaged          from the gate to the barrier frame, and a second latch
    to the barrier frame, where the gate automatically returns to       apparatus running from the barrier frame to the gate, where
    a position close to the closed position or to the closed 60 the first latch apparatus includes a finger handle that is
    position without the aid of a spring.                               configured to operate in the vertical direction such that the
       Another feature of the present invention is the provision        finger handle is lifted to draw a lower latch upwardly and out
    in a gate apparatus, of a barrier frame and a gate swingably        of engagement with a lower horizontal support member of
    engaged to the barrier frame, where the gate includes               the barrier frame.
    vertical and horizontal support members, where the barrier 65          Another feature of the present invention is the provision
    frame includes vertical and horizontal support members, and         in a gate apparatus, of a barrier frame, a gate swingably
    where an axis on which the gate pivots is oblique relative to       engaged to the barrier frame, a first latch apparatus running
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    from the gate to the barrier frame, and a second latch              pivot connection between the gate and the barrier frame.
    apparatus running from the barrier frame to the gate, where         Another feature contributing to this advantage is the absence
    the second latch apparatus includes a button that is config-        of a spring in such a pivot connection.
    ured to be pushed downwardly along a vertical axis and
    wherein an upper latch is configured to be drawn inwardly 5                BRIEF DESCRIPTION OF THE DRAWINGS
    into a second end of the barrier frame along a horizontal
    axis.                                                                  FIG. 1 is a front view of the present gate apparatus.
       Another feature of the present invention is the provision           FIG. 2A is a detail, section and partially diagrammatic
    in a gate apparatus, of a barrier frame, a gate swingably           view of first and second latch apparatus of the gate apparatus
    engaged to the barrier frame, a first latch apparatus running 10 of FIG. 1 and shows the first and second latch apparatus in
    from the gate to the barrier frame, and a second latch              a closed state.
    apparatus running from the barrier frame to the gate, where            FIG. 2B is a detail, section and partially diagrammatic
    the first and second latch apparatus are configured to require      view of first and second latch apparatus of the gate apparatus
    equal and opposite motions for a successful opening of the          of FIG. 1 and shows the first and second latch apparatus in
    gate.                                                            15 an open state.
       Another feature of the present invention is the provision           FIG. 3A is a detail view of a lower pivot connection
    in a gate apparatus, of a barrier frame, a gate swingably           between a gate and a barrier frame of the gate apparatus of
    engaged to the barrier frame, a first latch apparatus running       FIG. 1 prior to the faces of the pivot connection riding upon
    from the gate to the barrier frame, and a second latch              each other.
    apparatus running from the barrier frame to the gate, where 20         FIG. 3B is a detail view of an alternate lower pivot
    the first latch apparatus includes a spring between a finger        connection between a gate and a barrier frame of the gate
    handle and a lower latch, with the spring biasing the lower         apparatus of FIG. 1 prior to the faces of the pivot connection
    latch to a closed position such that a tension is provided to       riding upon each other.
    the finger handle when the finger handle draws the lower               FIG. 4A is a detail view of an alternate upper pivot
    latch out of engagement with a lower horizontal support 25 connection between a gate and a barrier frame of the gate
    member of the barrier frame.                                        apparatus of FIG. 1 prior to the faces of the pivot connection
       Another feature of the present invention is the provision        riding upon each other.
    in a gate apparatus, of a barrier frame, a gate swingably              FIG. 4B is a detail view of an alternate upper pivot
    engaged to the barrier frame, a first latch apparatus running       connection between a gate and a barrier frame of the gate
    from the gate to the barrier frame, and a second latch 30 apparatus of FIG. 1 prior to the faces of the pivot connection
    apparatus running from the barrier frame to the gate, where         riding upon each other.
    the second latch apparatus includes a spring between a                 FIG. SA is a front view of an alternate embodiment of the
    button and an upper latch, with the spring biasing the upper        gate apparatus of FIG. 1.
    latch to a closed position such that a tension is provided             FIG. SB is a detail, section and partially diagrammatic
    when the button is pushed in to draw the upper latch out of 35 view of first and second latch apparatus of the gate apparatus
    engagement with the gate.                                           of FIG. SA showing the second latch apparatus in a closed
       Another feature of the present invention is the provision        state.
    in a gate apparatus, of a barrier frame, a gate swingably              FIG. 6A is a detail view of an alternate lower pivot
    engaged to the barrier frame, a first latch apparatus running       connection between a gate and a barrier frame of the gate
    from the gate to the barrier frame, and a second latch 40 apparatus of FIG. 1 showing the faces of the pivot connec-
    apparatus running from the barrier frame to the gate, where         tion riding upon each other.
    a finger handle of the first latch apparatus confronts a button        FIG. 6B is a detail view of the alternate upper pivot
    of the second latch apparatus.                                      connection of FIG. 4B, showing the faces of the pivot
       Another feature of the present invention is the provision        connection riding upon each other.
    in a gate apparatus, of a barrier frame, a gate swingably 45
    engaged to the barrier frame, a first latch apparatus running                               DESCRIPTION
    from the gate to the barrier frame, and a second latch
    apparatus running from the barrier frame to the gate, where,           The present gate apparatus is shown in FIG. 1 and is
    when the lower latch engages the barrier frame and when the         indicated by reference number 10. Gate apparatus 10
    upper latch engages the gate, the finger handle and the 50 includes a main frame 12, a gate 14 swingably engaged to
    button are generally aligned in the horizontal direction.           the main frame 12, a first latch apparatus 16, a second latch
       An advantage of the present invention is child safety. A         apparatus 18, a first extension 20 and a second extension 22.
    feature contributing to this advantage is the inclusion of two      One or more extensions 20 and 22 may be utilized for
    latches that are configured such that a) each of the latches        passageways of greater width. Main frame 12, gate 14, first
    must be operated such that the gate can successfully be 55 and second latch apparatus 16, 18, and first and second
    opened, b) the latches must be operated at the same time            extensions 20, 22 generally fall into a first plane when the
    such that the gate can successfully be opened, and c) the           gate 14 is in a closed position.
    latches snap into a closed position when the gate is closed            Main frame 12 is a unitary one-piece element. Main frame
    and do so automatically without user intervention.                  12 includes a first end 24 and a second end 26 interconnected
       Another advantage is that the gate will tend to return to a 60 by a lower horizontal support member 28. First end 24
    position close to a closed position or to the closed position       includes an outer vertical support member 30 that confronts
    regardless of the attention that a user gives to the gate after     extension 20 and an inner vertical support member 32 that
    opening the gate. If the user opens the gate, then lets go of       confronts the gate 14. The vertical support members 30, 32
    the gate, the gate will automatically close or will automati-       extend upwardly and parallel to each other from the lower
    cally return close to the plane of the barrier frame, i.e., to a 65 horizontal support member 28 and terminate at an upper
    position that confronts the closed position. A feature con-         horizontal support member 34. Vertical support members 30,
    tributing to this advantage is the structural design of the         32 are interconnected by lower horizontal support member
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    28, upper horizontal support member 34, and a pair of            can extend into opening 62 and further into tubular lower
    relatively short horizontal support members 36, 38. Support      horizontal member 56. Upper opening 64 is formed opposite
    member 36 is a lower support member that confronts               of horizontal member 58 such that shaft 42 can extend into
    lowermost horizontal support member 28. Support member           opening 64 and further into tubular upper horizontal member
    38 is an upper support member that confronts uppermost 5 58.
    horizontal support member 34. Support members 28, 34, 36,           Extensions 20, 22 may include pin connectors 71, as
    and 38 run parallel to each other.                               shown in FIG. 5B, extending therefrom, such as from
       The second end 26 of the main frame 12 is a mirror image      vertical support member 50. Such pin connectors 71 then
    of the first end 24. Second end 26 includes an outer vertical    engage openings 66, 68 formed in vertical support member
    support member 30, an inner vertical support member 32, an 10 30. One or more spacers or washers 70 may be engaged on
    uppermost horizontal support member 34, a lower support          vertical support member 30 to space extensions 20, 22
    member 36, and an upper support member 38.                       slightly away from vertical support member 30. Spacer 70
       Main frame 12 is manufactured to be a pressure frame.         surrounds opening 66, 68.
    That is, the upwardly extending support members 30 and 32           Gate 14 includes a first vertical support member 72, a
    of the second end 26 are manufactured to be slightly obtuse 15 second vertical support member 74, and a lowermost hori-
    (slightly over 90 degrees) relative to the lower horizontal      zontal or traversing support member 76 running to and
    member 28. This slightly obtuse relationship permits the first   between the vertical support members 72, 74. Lowermost
    end 24 and second end 26 to be relatively squeezed together      horizontal support member 76 is horizontally aligned with
    between two vertically running surfaces, such as two walls,      lower horizontal support member 36 of main frame 12 and
    and to thereby resiliently push back against the vertically 20 horizontal support members 56 of first and second exten-
    running surfaces such that the gate apparatus 10 can fix itself  sions 20, 22.
    between two walls and in a position off the floor if desired.       Gate 14 includes an uppermost or traversing support
    Latch apparatus 18 does not engage gate 14 until the second      member 78 extending from an upper end of vertical support
    end 26 is pushed into a right angle relationship, or there-      member 72 to an upper end of vertical support member 74.
    abouts, with the lowermost horizontal support member 28. 25 Uppermost or traversing support member 78 is a segment or
       The apparatus that squeezes first end 24 and second end       arc of a circle and runs adjacent to panel 82 such that panel
    26 relatively toward each other is a screw apparatus 40.         82 includes an arc portion.
    Screw apparatus 40 includes a threaded shaft 42 having a            Gate 14 includes an upper horizontal or traversing support
    disk shaped head 44 rigidly fixed on a distal end of the         member 80 running horizontally to and between horizontal
    threaded shaft 42. Disk shaped head 44 abuts a vertical 30 support members 72, 74. Support member 80 is generally
    surface such as a wall. The shaft 42 is threaded and includes    aligned horizontally with horizontal support members 38 of
    a knob 46 having a threaded opening that mates with the          main frame 12 and horizontal support members 58 of
    threads of the shaft 42. Knob 46 includes a face that abuts      extensions 20, 22.
    an end of one of the extensions 20, 22. Knob 46 when turned         Running between support members 78 and 80, and further
    on the shaft 42 travels incrementally to and away from the 35 running between vertical support members 72, 74, is a panel
    head 44. The proximal end portion of shaft 42 is set in a        82. Panel 82 is opaque. More preferably, panel 82 is formed
    nonthreaded hole or receptor 62 or 64 formed in one of the       of wood or a material that provides the appearance of wood.
    extensions 20, 22 or nonthreaded hole or receptor 66 or 68       Members 72, 74, 78, 80, the support members surrounding
    formed in outer vertical support members 30 of one of the        the panel 82, have a first thickness, i.e., a distance from a
    main frame ends 24, 26. If one or more of the extensions 20, 40 first or front face of the gate apparatus 10 to a second or rear
    22 are not utilized, the shafts 42 are received in receptors 66, face of the gate apparatus 10. Disposed inwardly of sur-
    68 formed in the outer vertical support members 30 of the        rounding members 72, 74, 78 and 80, panel 82 includes a
    main frame ends 24, 26. To squeeze the main frame ends 24,       beveled periphery 84. Further inwardly of the beveled
    26 relatively toward each other, knob 46 is turned or rotated    periphery 82 is a flat panel section 86 having a second
    to travel on shaft 42 in a direction away from disk shaped 45 thickness greater than the first thickness of members 72, 7 4,
    head 44.                                                         78 and 80. It should be noted that beveled periphery 84 and
       First and second extensions 20, 22 are mirror images of       flat panel section 86 are found on both sides of the gate 154.
    each other. First extension 20 includes a pair of vertical          Gate 14 includes inner vertical support members 88, 90,
    support members 48, 50 that run parallel to each other and       92 and 94 running between lowermost horizontal support
    run the height of the outer vertical support member 30 of 50 member 76 and upper horizontal support member 80. Sup-
    main frame 12. Vertical support members 48, 50 are inter-        port members 88, 90, 92, 94 are parallel to each other and
    connected by a lowermost horizontal support member 52, an        to outer vertical support members 72, 74.
    uppermost horizontal support member 54, a lower horizontal          Gate 14 includes inner horizontal or traversing support
    support member 56, and an upper horizontal support mem-          member 96 running to and between vertical support mem-
    ber 58. Support members 52, 54, 56 and 58 run parallel to 55 bers 90, 92. Inner horizontal support member 96 runs
    each other. Horizontal support member 56 is horizontally         parallel to lowermost horizontal support member 76 and
    aligned with support member 36 of the main frame 12.             upper horizontal support member 80.
    Horizontal support member 58 is horizontally aligned with           Gate 14 includes vertical support members 98, 100 run-
    horizontal support member 38 of the main frame 12. First         ning from inner horizontal support member 96 to upper
    extension 20 further includes an inner vertical support 60 horizontal support member 80. Vertical support members 98,
    member 60 running to and between the lower and upper             100 run parallel to each other and to vertical support
    horizontal support members 56, 58. Support member 60 runs        members 72, 74, 88, 90, 92, and 94.
    parallel to support members 48, 50 and is disposed centrally        Gate 14 includes a pet door or pet gate 102. Pet door 102
    in extension 20 and equidistance from each of support            is framed by lowermost horizontal support member 76, inner
    members 48, 50. Each of the vertical support members 48, 65 horizontal support member 96, inner vertical support mem-
    50 has a pair of openings 62, 64. Lower opening 62 is            ber 90, and inner vertical support member 92. Pet door 102
    formed opposite of horizontal member 56 such that shaft 42       includes a lowermost horizontal support member 104 and an
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    uppermost horizontal support member 106 that run parallel        the first latch apparatus 16. Ramp 143 lies parallel to
    to each other. Pet door includes vertical support members        horizontal member 28. Ramp 143 is oblique relative to a flat
    108, 110, 112, and 114 running to and between lowermost          upper surface or horizontal member 28. Latch receiver 142
    horizontal support member 104 and uppermost horizontal           of first latch apparatus 16 is an upper molding or piece or
    support member 106. Pet door 102 includes a latch 116 5 housing 142 extending about the junction of support mem-
    extending between vertical support member 114 and vertical       ber 78 and vertical support member 74. Latch receiver or
    support member 92. Pet door 102 swings on a vertical axis        upper molding or housing 142 includes a recess or latch
    provided by lower and upper pin connectors 118, 120.             opening 144 for an upper latch 148 of the second latch
    Lower pin connector 118 is disposed between lowermost            apparatus 18 and further includes ramps or inclined surfaces
    support member 104 of the pet door 102 and the lowermost 10 141 leading into the recess 144. A top wall, a bottom wall,
    support member 76 of the gate 14. Lower pin connector 118        and a pair of sidewalls within the molding 142 form the latch
    is vertically aligned with vertical support member 108.          opening 144 for upper latch 148.
    Upper pin connector 120 is disposed between uppermost               The second latch apparatus 18 includes a button 146
    horizontal support member 106 of the pet door 102 and inner      mounted in a housing 150 at the junction of uppermost
    horizontal support member 96 of the gate 14. Upper pin 15 horizontal support member 34 and vertical support member
    connector 120 is vertically aligned with the vertical support    32 of second end 26. Button 146 is operatively connected to
    member 108 and with lower pin connector 118. When latch          the upper latch 148 that is also mounted in the housing 150
    116 is opened, pet door 102 can swing to either the front or     of uppermost horizontal support member 34 and vertical
    rear face of gate apparatus 10.                                  support member 32 of second end 26. A distal end of latch
       Main frame 12 includes a piece 122 extending from a 20 148 is received in recess 144 of latch receiver or upper
    junction of uppermost horizontal support member 34 and           molding or housing 142. Latch 148 is operatively connected
    vertical support member 32 to a space slightly above vertical    to button 146 such that when button 146 is pushed down,
    support member 72, where a distal end of piece 122 mounts        latch 148 is drawn out of recess 144 such that gate 14 can
    a pin connector at pivot connection B for swingably mount-       be swung open. This action is provided for by an inner
    ing the gate 14.                                              25 curved end or edge 149 of button member 146. When pushed
       A washer or spacer or other piece may be engaged about        downwardly, curved edge 149 draws the latch 148 inwardly
    the pin connector and between the distal end of piece 122        by a tab 151 on a proximal end of the latch 148. Tab 151
    and the upper end of vertical support member 72. Such pin        rides on the curved edge 149. A spring 153 mounted in the
    connector extends into vertical support member 72. A deco-       housing 150 of uppermost horizontal support member 34
    rative cover 124 extends over piece 122, partially about 30 and vertical support member 32 of second end 26 biases the
    horizontal support member 34 and partially about vertical        latch 148 in the closed position, i.e., in the position where
    support member 32. Gate 14 is swingably mounted on a             the distal end of the latch 148 is in recess 144. One end of
    mount 126 engaged on lowermost horizontal support mem-           spring 153 is engaged to a proximal end of the latch 148. The
    ber 28 of main frame 12. A distal end portion of mount 126       other end of the coil spring 153 is engaged to a fixed piece
    confronts vertical support member 32 of end 24 of frame 12. 35 155 fixed in vertical support member 34.
    A proximal end portion of mount 126 is fixed to a lower end         First and second latch apparatus 16 and 18 are dependent
    of vertical support member 72. The connection between the        upon each other when the gate 14 is being opened. In other
    distal end portion of mount 126 and horizontal support           words, for the gate 14 to be opened, each of the first and
    member 28 is pivot connection C. Axis A extends between          second latch apparatus 16, 18 must be operated. If button
    pivot connections B and C. Axis A is oblique relative to 40 146 is pressed down to draw in the upper latch 148 and the
    horizontal and vertical frame members of the barrier frame       user attempts to push or pull open the gate 14 without raising
    12 and the gate 14. Oblique means: 1) neither perpendicular      the finger handle 128, the lower latch 132 remains in the
    nor parallel to a given line or surface, 2) slanting, and 3)     down position in latch receiver 134 and the gate 14 cannot
    sloping.                                                         be pushed or pulled open. If the finger handle 128 is raised
       As shown in FIG. 2A, the first latch apparatus 16 includes 45 to draw up the lower latch 132 and the user attempts to push
    a finger handle 128. Finger handle 128 is engaged to an          or pull open the gate 14 without pressing down on the button
    upper end of a vertical running elongate piece or rod 130. A     146, the upper latch 148 remains in the upper latch receiver
    first or lower latch 132 is engaged to a lower end of the        142 and the gate 14 carmot be pushed or pulled open. Only
    vertical running elongate piece 130. Latch 132 interacts with    when each of the finger handle 128 and button 146 is
    a latch receiver 134 extending upwardly from the upper face 50 operated can the gate 14 be pushed or pulled open. That is,
    of lowermost support member 28 of main frame 12. A coil          only when the finger handle 128 is in the raised position and
    spring 136 is engaged about the vertical running elongate        the button 146 is pressed down can the gate 14 be pushed or
    piece 130. An upper end of the coil spring 136 abuts a           pulled open.
    stationary piece 138 fixed in vertical support member 74. A         First and second latch 16 and 18 are independent of each
    lower end of the coil spring 136 is engaged to the upper end 55 other for a closing of the gate 14. In other words, gate 14
    of latch 132. When the finger handle 128 is snared and           requires only one of the lower and upper latches 132, 148 to
    pulled up by a finger, the coil spring 128 is compressed.        be engaged in its respective latch receiver 134, 142 for the
    When the finger handle 128 is released, the coil spring 128      gate 14 to be locked in its closed position where the gate 14
    pushes latch 132 and elongate piece 130 downwardly such          is in a common plane with barrier frame 12. Gate 14 closes
    that latch 132 may engage latch receiver 134. Latch receiver 60 to a locked position automatically without operation of the
    142 includes ramps 143 that the distal end of latch 132 hits     finger handle 128 or button 146 because, when gate 14 is
    when the gate 14 is closed. When the distal end oflatch 132      being closed from either face of the barrier frame 12, lower
    hits ramp 143, the latch 132 is forced upwardly and              and upper latches 132, 148 engage respective ramps 143,
    inwardly, whereupon the distal end oflatch 132 rides on the      141 that lead into respective latch openings 147, 144 such
    horizontal upper surface 145 until the coil spring 136 forces 65 that there is a snapping action provided by respective coil
    the distal end of the latch 132 downwardly into a central        springs 136, 153 when latches 132, 148 engage latch open-
    opening 147 formed in the latch receiver 142 so as to lock       ings 147, 144.
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       It is preferred that all support members of gate apparatus         support members. One reason for this is to maximize the
    10 are tubular, except piece 122 and mount 126 may not be             difficulty for children and pets to climb up and over the gate
    tubular.                                                              apparatus 10, 152.
       It is preferred that all support members of gate apparatus            Gate 14 is swingable on an axis A. Axis A runs through
    10 are square or rectangular in section. These support 5 a first pivot connection B and a second pivot connection C.
    members include support members 28, 30, 32, 34, 36, 38,               A true vertical line running through pivot connection B is
    48,50, 52,54,56, 58, 60, 72, 74, 78,80,88,90, 92,94,96,               spaced apart from and runs parallel to a true vertical line
    98, 100, 104, 106, 108, 110, 112, and 114. A rectangle is a           running through pivot connection C. Neither of such true
    parallelogram having four right angles. A square is a rect-           vertical lines are parallel with axis A.
    angle having four sides of equal length.                           10    When gate apparatus 10 is set up between two vertical
       The provision of panel 82 in the gate 14 makes the gate            surfaces, such as walls, the horizontal and vertical support
    14 stand out in the gate apparatus 10. A user in a hurry, or          members of the gate apparatus 10 are likely not truly vertical
    a visitor to the home, more readily can determine where the           and truly horizontal, but merely generally vertical and
    gate 14 is in the overall gate apparatus 10. A conventional           generally horizontal.
    gate includes a great number of wires such that it may be 15             If axis A hypothetically ran horizontally, and if gate 14
    difficult to quickly ascertain where the fixed portions of the        depended from pivot connections set apart horizontally from
    barrier end and where the gate picks up.                              each other, where such pivot connections established such
       The present gate apparatus 10 is a combination panel and           hypothetical axis, gate 14 when released from an open
    tube gate apparatus where the tubes of the gate are rectan-           position would swing like a pendulum and eventually come
    gular in section and where the panels are wood or a wood 20 to rest in a true vertical plane and in a common plane with
    composite or have the appearance of wood. Tubes that are              the barrier frame 12. This principle is applied to this case
    rectangular in section tend to appear less utilitarian and more       where axis A is not horizontal, but is partially horizontal. In
    aesthetic than tubes that are round in section. Wood panels           effect, axis A is partially horizontal and partially vertical (or
    or panels that have the appearance of wood are more                   has both horizontal and vertical components) because axis A
    pleasing to the eye than metal panels or metal gates that have 25 is oblique relative to vertical support members of the barrier
    no panels, especially in a residence where a great amount of          frame 12 and gate 14 and is further oblique relative to
    wood may be found.                                                    horizontal support members of the barrier frame 12 and gate
       FIG. SA shows a gate apparatus 152 that does not have a            14.
    pet door 102. Gate apparatus 152 includes a gate 154. Gate               Examples of first pivot connection B are pivot connec-
    154 includes the lowermost horizontal support member 76, 30 tions 214 and 230 that are shown in FIGS. 4A and 4B.
    the traversing horizontal support member 78, the vertical             Examples of second pivot connection C are pivot connec-
    support member 72 defining a swing axis, and vertical                 tions 174 and 197, shown in FIGS. 3A and 3B.
    support member 74. Gate 154 includes upper horizontal                    As shown in FIG. 3A, gate apparatus 10 includes a second
    support member 80, panel 82, beveled periphery 84, and flat           pivot connection or hinge 174. Pivot connection 174
    panel portion 86. If desired, gate apparatus 152 can include 35 includes a spacer or portion 176 fixed relative to the gate 14.
    piece 122 and mount 126 to provide pivot connections B and            Pivot connection 174 further includes a portion 178 fixed
    C and oblique axis A.                                                 relative to the frame 12. This portion 178 is a planar upper
       Gate 154 includes lower intermediate horizontal support            surface section of horizontal support member 28. Frame 12
    member 156 running to and between vertical support mem-               lies generally in a plane. Gate 14 lies generally in a plane.
    bers 72, 74. Horizontal support member 156 is disposed 40 When the gate 14 is closed, gate 14 and frame 12 lie
    between and runs parallel to horizontal support members 76,           generally in the same plane.
    80.                                                                      Spacer or gate portion 176 is fixed relative to piece 126,
       Gate 154 further includes vertical support members 158,            which in tum is fixed relative to vertical support member 72
    160, 162, 164, and 166. Members 158, 160, 162, 164 and                and horizontal support member 76. Piece 126 includes a
    166 run parallel to each other and to vertical support 45 proximal end engaged to vertical support member 72. A
    members 72, 74.                                                       distal end of piece 126 is engaged to spacer or gate portion
       Running between horizontal support members 76 and                  176. Pivot pin 180 extends through spacer or gate portion
    156, and further running between vertical support members             176 and is nonrotatably fixed thereto. Pin 180 includes a pin
    72, 74, is a panel 168. Panel 168 is opaque. More preferably,         head 181. Gate portion or spacer 176 includes the pivot pin
    panel 168 is formed of wood or a material that provides the 50 180. Pivot pin 180 is nonrotatably fixed relative to gate
    appearance of wood. Members 72, 74, 76, and 156, the                  portion or spacer 176 and thereby also fixed relative to piece
    support members surrounding the panel 168, have a first               126, vertical support member 72 and horizontal support
    thickness, i.e., a distance from a first or front face of the gate    member 76 of gate 14. Thus, pivot pin 180 is fixed relative
    apparatus 152 to a second or rear face of the gate apparatus          to gate 14. Pivot pin 180 includes an axis 182. When pivot
    152. Inwardly of surrounding members 72, 74, 76 and 156, 55 pin 180 is set in hole 188, axis 182 may become aligned
    panel 168 includes a beveled periphery 170. Inwardly of the           with, or closely aligned with, axis A because face 184 of
    beveled periphery 170 is a flat panel section 172 having a            spacer 176 is oblique relative to the horizontal or is oblique
    second thickness greater than the first thickness of members          relative to an axis of the vertical support member 32 of the
    72, 74, 76, and 156. It should be noted that beveled periph-          first end 24 of the barrier frame 12.
    ery 170 and flat panel section 172 is found on both sides of 60          Spacer 176 includes the first face 184. First face 184 is
    the gate 154.                                                         disk shaped. First face 184 lies at a right angle to the plane
       In gate apparatus 152, upper panel 82 and lower panel 168          in which the gate 14 lies. First face 184 is disposed obliquely
    have the same length, i.e., are set between the same vertical         relative to the pin axis 182 and obliquely relative to the
    support members 72, 74. Such a common length makes the                horizontal support members of the gate 14.
    gate 154 visually stand out for the user.                          65    First face 184 is preferably not at a right angle to the pin
       It should be noted that gate apparatus 10 and gate appa-           axis 182. First face 184 is preferably between 85 and 89.9
    ratus 152 minimize the number of horizontal or traversing             degrees to axis 182, more preferably between 86 and 89.9
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    degrees to axis 182, still more preferably between 87 and           member 32 of barrier frame 12. Lower pivot connection C,
    89.9 degrees to axis 182, and yet more preferably between           by virtue of piece 126, is spaced a second distance from the
    88 and 89.9 degrees to axis 182 such that face section 184          vertical axis of vertical support member 32 of barrier frame
    slopes upwardly from the pivot side of the gate 14 to the           12, with such second distance being less than such first
    latch side of the gate 14 when the pivot pin 180 is oriented 5 distance, such that axis A takes on a horizontal component,
    truly vertical.                                                     such that gate 14 swings shut automatically under the
       It should be noted that the following angles as illustrated      influence of gravity without the aid of a spring.
    are exaggerated: 1) the oblique angle of face 184 relative to          It should be noted that, for purposes of illustration only,
    the other end of the spacer 176 or relative to horizontal           pivot pin 180 of FIGS. 3Aand 3B and pivot pin 227 of FIGS.
    components of the gate 14 in FIG. 3A, 2) the oblique angle 10 4A and 4B are shown oriented vertically prior to being tilted.
    of face 208 relative to the upper surface of member 28 and          In other words, for purposes of illustration only, the follow-
    other horizontal components of the frame 12 in FIG. 3B, 3)          ing pairs of confronting faces are shown with their latch side
    the oblique angle of face 218 relative to pivot pin axis 229        end portions spaced apart: faces 184 and 186 of FIG. 3A,
    in FIG. 4A, and 4) the oblique angle of face 242 relative to        faces 200 and 208 of FIG. 3B, faces 218 and 224 of FIG. 4A,
    piece 122 and other horizontal components of barrier frame 15 and faces 234 and 242 of FIG. 4B. In operation, such pairs
    12 of FIG. 4B.                                                      of faces abut and make contact with each other and ride upon
       Frame portion 178, i.e., the upper face of horizontal            each other.
    support member 28 of barrier frame 12, that is fixed relative          Gate apparatus 10 includes barrier frame 12 in generally
    to the frame 12 includes a second face 186. Frame portion           a first plane. Barrier frame has a first vertical support
    178 includes a pivot receptor or seat 188 for the pivot pin 20 member 32 on first end 24. First vertical support member 32
    180. The thickness (or height) of seat 188 is relatively small      includes a first vertical axis. Gate 14 is swingable into and
    such that pivot pin 180 can tilt or demonstrate some play in        out of the barrier frame 12 and into and out of the first plane.
    seat 188. Face 186 is disposed at a right angle to the plane        Gate 14 includes a pivot side and a latch side. A first pivot
    in which the frame 12 lies. Seat 188 includes a depth greater       connection B is disposed between the gate 14 and the barrier
    than the axial length of pivot pin 180 such that, when pivot 25 frame 12. A second pivot connection C is disposed between
    pin 180 is seated in the seat 188, the distal end of the pivot      the gate 14 and the barrier frame 12. The first and second
    pin 180 is spaced from the bottom of the seat 188 (from the         pivot connections B, C establish a swing axis A on which the
    floor of member 28) such that a face section 190 of gate            gate 14 swings. Swing axis A is oblique relative to the first
    portion or spacer 176 makes contact with a face section 192         vertical axis of the first vertical support member 32 of end
    of frame portion 178. Seat 188 in effect is bottomless 30 24 such that the swing axis A has a horizontal component
    because seat 188 is a hole that extends into tubular member         (i.e., is oriented between the vertical and the horizontal)
    28. A pivot side end portion 190 lies on the swing or pivot         whereby, after the gate 14 has been opened and released, the
    side, as opposed to the latch side, of gate portion or spacer       gate 14 swings back to the first plane of the barrier frame 12
    176 of gate 14. Also, a pivot side end portion 192 lies on the      under the influence of gravity.
    swing or pivot side, as opposed to the latch side, of face 186 35      The barrier frame 12 further includes an upper horizontal
    of upper surface 178 of horizontal member 28 of frame 12.           frame member 122 extending from the first vertical member
       Generally, by virtue of one or more of axis A and the            32 of end 24 at a right angle. The first pivot connection B is
    oblique face 184, gate 14 will, after being opened and              engaged to the upper horizontal frame member 122 at a first
    released by the user, swing under the influence of gravity          distance from the first vertical axis of the first vertical
    back toward the plane in which the frame 12 lies and come 40 member 32 of end 24. The barrier frame 12 further includes
    to rest against the frame 12 or come to rest in frame 12,           a lower horizontal frame member 28 extending from the first
    where latches 132 and 148 snap into their respective open-          vertical member 32 of end 24 at a right angle. The second
    ings 147 and 144. More specifically, the gate 14 returns to         pivot connection C is engaged to the lower horizontal frame
    a position close to the plane of the barrier frame 12 or returns    member 28 at a second distance from the first vertical axis
    to a closed position under the influence of gravity because of 45 of the first vertical member 32 of end 24, where such first
    one or more of the following factors: a) at least one of the        distance is greater than such second distance.
    pivot connections B and C establish an axis (oblique axis A)           Pivot connection 174 of FIG. 3A includes a first face 184
    that is partially horizontal (has a horizontal component and        and a second face 186. The first and second faces 184, 186
    a vertical component), b) the oblique face 184, c) at least one     confront each other. The first face 184 is fixed relative to the
    of the pivot connections B and C tends to be imperfect 50 gate 14. The second face 186 is fixed relative to the
    and/or have a slight degree of play, d) the distal end of the       horizontal frame member 28 of frame 12. Pivot connection
    pivot pin 180 extends into a space and does not ride upon on        174 of FIG. 3A further includes a pivot pin 180. Pivot pin
    a surface thereby permitting pivot pin 180 to tilt, and e) faces    180 extends through the first and second faces 184, 186.
    184 and 186 that ride on each other or a latch side face            Pivot pin 180 includes an axis 182. First face 184 is oblique
    section 194 of oblique face 184 that will tend to collapse or 55 relative to axis 181 (and is further oblique relative to
    seek out a latch side face section 196 of face 186 of frame         horizontal member 76 of gate 14) such that, when the first
    portion 178.                                                        and second faces 184, 186 make contact with each other, the
       In other words, a gate 14 having a perfectly vertical axis       axis 182 of the pivot pin 180 becomes generally aligned with
    at pivot connection B and a perfectly vertical axis at pivot        swing axis A.
    connection C would not swing because such parallel axis are 60         Gate 14 includes upright support member 72. Upright
    spaced apart from each other. Only if one pivot connection          support member 72 includes an upright axis. Upright sup-
    was provided with an arc through which to move would such           port member 72 includes an upper end and a lower end. First
    a gate 14 swing. However, with slightly oblique face 184,           pivot connection B is engaged to the upper end of upright
    the axis 182 of pivot pin 180 is titled and drawn closer to,        support member 72. Second pivot connection C is offset
    if not in alignnient with, axis A.                               65 from the lower end of upright support member 72 of gate 14.
       Upper pivot connection B, by virtue of piece 122, is             Second pivot connection C is disposed between the first
    spaced a first distance from a vertical axis of vertical support    vertical axis of first vertical member 32 of end 24 and the
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    upright axis of upright support member 72 of gate 14. Piece         pin shafts 227. That is, when the gate 14 swings, pivot pin
    126 includes a proximal end and a distal end. The proximal          heads or gate portions 216, 232 and the pivot pin shafts 227
    end of piece 126 is engaged to the lower end of upright             swing with the gate 14.
    support member 72. Piece 126 extends from the lower end                Pivot pin head 216 has an undersurface that is oblique
    of the upright support member 72 at a right angle. The 5 relative to axis 229. This undersurface is face 218.
    second pivot connection C is engaged between the distal end            Each of the pivot pin shafts 227 shown in FIGS. 4A and
    of piece 126 and the horizontal support member 28 of barrier        4B enters an opening formed in piece 122, exits such
    frame 12.                                                           opening, and then enters the upper end of upright support
       It should be noted that the automatic return under the           member 72. Upright support member 72, includes its upper
    influence of gravity function of the gate 14 described with 10 end, is tubular. Each of pivot pin shafts 227, tilted by the
    reference to FIG. 3A is provided by the structures of FIGS.         oblique faces 218 and 242, remains tilted and hidden from
    3B, 4A and 4B.                                                      view in tubular upright support member 72. Tilted pivot pins
       The pivot connection 197 of FIG. 3B includes a spacer or         180 also are hidden from view in tubular member 28.
    gate portion 198 fixed relative to the gate 14. Spacer or gate         Frame piece or portion 122 is a receiver or seat for the
    portion 198 includes a first face 200 fixed relative to the gate 15 pivot pin head or gate portion 216. Portion 240, fixed to
    14. First face 200 includes a pivot side end portion 202 and        frame portion 122, is a receiver or seat for pivot pin head
    a latch side end portion 204.                                       232.
       Pivot connection 197 further includes a portion 206 fixed           It should be noted that only one of pivot connections 174,
    relative to the frame 12. Frame portion 206 is triangular in        197, 214, 230 is required for the automatic swing return of
    section and includes a second face 208. Face 208 includes a 20 gate 14. However, if desired, any of the lower pivot con-
    pivot side end portion 210 and a latch side end portion 212.        nections 174, 197 may be used in combination with any of
       Face 200 is disposed at a right angle relative to the plane      the upper pivot connections 214, 230. Preferred is a com-
    of the gate 14. Face 200 is disposed at a right angle relative      bination where pivot connection 174 is utilized along with
    to the axis 182 of pivot pin 180.                                   an upper pivot pin connection where a pivot pin that swings
       Face 208 is disposed at a right angle relative to the plane 25 independently of each of the frame 12 and gate 14 is used,
    of the frame 12. Face 208 is disposed obliquely relative to         where such pivot pin has no undersurface that is oblique, and
    horizontal support member 76, and obliquely relative to the         where piece 122 has no piece or seat having an oblique
    vertical axis of first vertical support member 32 of end 24 of      surface.
    frame 12.                                                              In the pivot connections 174, 197, 214, and 230 of FIGS.
       The pivot connection 214 of FIG. 4A includes a gate 30 3A, 3B, 4A and 4B, the pivot side end portion of a face is
    portion or pivot pin head 216 fixed relative to the gate 14.        diametrically opposite of the latch side end portion of such
    Gate portion 216 includes a first face 218 fixed relative to the    face.
    gate 14. First face 218 includes a pivot side end portion 220          In the pivot connections 174, 197, 214, and 230 of FIGS.
    and a latch side end portion 222.                                   3A, 3B, 4A and 4B, when the frame 12 and gate 14 are
       Pivot connection 214 further includes a piece or portion 35 coplanar, i.e., when the gate 14 is closed, the pivot side end
    122 fixed relative to the frame 12. Frame portion 122               portions of the confronting upper and lower faces make
    includes a second face 224. Face 224 includes a pivot side          contact with each other and the latch side end portions of the
    end portion 226 and a latch side end portion 228.                   confronting upper and lower faces make contact with each
       Face 218 is disposed at a right angle relative to the plane      other.
    of the gate 14. Face 218 is disposed at an oblique angle 40            In the pivot connections 174, 197, 214, and 230 of FIGS.
    relative to an axis 229 of pivot pin shaft 227. Pivot pin shaft     3A, 3B, 4A and 4B, faces 184 and 218 run upwardly from
    227 is fixed to gate portion or pivot pin head 216.                 their pivot side end portions 190, 220 to their latch side end
       Face 224 is disposed at a right angle relative to the plane      portions 194, 222 when the pivot pin axis is at a true vertical
    of the frame 12. Face 224 is shown disposed at a right angle        position.
    relative to the axis 229 of pivot pin shaft 227 prior to the 45        In the pivot connections 174, 197, 214, and 230 of FIGS.
    pivot pin shaft 227 being tilted by the connection of the gate      3A, 3B, 4A and 4B, faces 208, 242 run downwardly from
    14 to the barrier frame 12.                                         their pivot side end portions 210, 244 to their latch side end
       The pivot connection 230 of FIG. 4B includes a portion           portions 212, 246 when the pivot pin axis is at a true vertical
    or pivot pin head 232 fixed relative to the gate 14. Gate           position.
    portion or pivot pin head 232 includes a first face 234 fixed 50       FIGS. SA and 5B shows a first latch apparatus 248. Latch
    relative to the gate 14. First face 234 includes a pivot side       apparatus 248 includes a molding or latch receiver or
    end portion 236 and a latch side end portion 238.                   housing 249. Mounted on and integral with housing 249 is
       Pivot connection 230 further includes a portion 240 fixed        a finger handle 250 that is engaged to a rod 252 that in tum
    relative to the frame 12. Frame portion 240 is triangular in        is engaged to a piston 254 slideable in tubular support
    section and includes a second face 242. Face 242 includes a 55 member 74. By way of contrast, it should be noted that
    pivot side end portion 244 and a latch side end portion 246.        molding or latch receiver 142 of first latch apparatus 16 is
       Face 234 is disposed at a right angle relative to the plane      fixed to gate 14 and finger handle 128 is raised indepen-
    of the gate 14. Face 234 is disposed at a right angle relative      dently of molding or first latch receiver 142.
    to the axis 229 of pivot pin shaft 227.                                Piston 254 of first latch apparatus 248 compresses a coil
       Face 242 is disposed at a right angle relative to the plane 60 spring 256 in member 74 against a stationary piece 258
    of the frame 12. Pivot pin shaft 227 is fixed to gate portion       engaged in member 74. When finger handle 250 is released
    or pivot pin head 232. Face 242 is disposed obliquely               from a drawn up position, coil spring 256 pushes piston 254
    relative to the vertical axis of first vertical support member      downwardly. Piston 254 is engaged to a rod 260 that is
    32 of end 24 of frame 12, and relative to horizontal support        engaged to a lower latch, such as lower latch 132 of first
    member or piece 122.                                             65 latch apparatus 16.
       It should be noted that gate portions 216, 232 are pivot pin        FIG. 5B further shows a second latch apparatus 262.
    heads fixed relative to the gate 14 and have associated pivot       Second latch apparatus 262 includes a housing 264 mounted
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    on a junction of support members 32, 34. A finger slide 266       that raising the finger handle 129 and pressing down on
    is mounted on the housing 264 and extends through an              button 146 are steps that are independent of each other (in
    opening in the housing 264 to be engaged to a first latch or      contrast to the sequential steps required for first and second
    extension 268. First latch 268 is biased by a coil spring 270     latch apparatus 248, 262). Then the user 14 walks over the
    fixed in the housing 264 such that a distal end of latch 268 5 relatively low horizontal support member 28 and through the
    normally extends out of the housing 264. Distal end oflatch       opening in the barrier frame 12 left by the open gate 14.
    268 engages an opening 272 formed in latch receiver or               In operation, to close the gate 14 after walking through the
    molding 249. Opening 272 is an opening that extends               opening in the barrier frame left by the open gate 14, the user
    laterally through housing 249, i.e., from one face or side of     may push the gate 14 closed and the upper and lower latches
    the gate 154 to the other face or side of the gate 154. 10 148, 132 will automatically snap into their respective upper
    Opening 272 is formed by top and bottom walls and an end          and lower latch receivers 142, 134. If the user does not take
    wall but includes no sidewalls. Second latch apparatus 262        a positive action, such as a push against the gate 14, the gate
    further includes a second latch 274 mounted in housing 264.       14 will return to a position close to the closed position by
    A distal end of latch 274 normally extends out of housing         virtue of one of the springless automatic return pivot con-
    264 under the bias of a coil spring 276 fixed in housing 264. 15 nections 174, 197, 214, and 230 of FIGS. 3A, 3B, 4A and
    The distal end of latch 274 engages an opening 278 formed         4B. Close to the closed position means that the distal ends
    in molded latch receiver 249 below and spaced apart from          of upper and lower latches 148, 132 may come to rest upon
    opening 272. Opening 278 is formed longitudinally in              the respective ramps 141, 143 of the respective latch receiv-
    molding 249 but also is bottomless to allow the molding 249       ers 142, 134 or that gate 14 will swing back to a slightly ajar
    and its finger handle 250 to be raised. Opening 278 is formed 20 position. In such slightly ajar position, the relatively heavy
    by sidewalls, a top wall and an end wall. The structure that      metal gate 14 may not be able to be swung or pushed or
    forms opening 278 includes no bottom wall at opening 278.         pulled open by a small child or pet, thereby effectively
    Molding 249 includes a pair of ramps 280 leading into the         acting as a barrier even though the upper and lower latch
    opening 278 such that, when the gate 14 is closed, one of the     apparatus 16, 18 have not been engaged. In some cases,
    ramps 280 hits the distal end of latch 274 and pushes the 25 depending upon the exact x, y, and z orientation of the gate
    latch 27 4 inwardly into the housing 264 whereupon, after the     apparatus 10, gate 14 will swing all of the way into the
    distal end oflatch 274 travels the length of the ramp 280, the    closed position with latches 132, 148 snapping into their
    latch 274 snaps into longitudinal opening 278.                    respective latch receivers 134, 142 by virtue of the spring-
       First and second latch apparatus 248, 262 operate differ-      less automatic return pivot connection 174, 197, 214 or 230
    ently from the first and second latch apparatus 16, 18. That 30 without a user actively pushing or pulling on the gate 14.
    is, the first and second latch apparatus 248, 262 must be            In the embodiments of the pivot connections shown in
    operated in sequence in order to open gate 154, with the          FIG. 3A and FIG. 3B, the horizontal and vertical support
    sequence being a first in time operation of the second latch      members of the gate 14 may be slightly oblique relative to
    apparatus 262 to draw in latch 268 and a second in time           the horizontal and vertical support members of the barrier
    operation of the first latch apparatus 248 to raise the finger 35 frame 12. This obliqueness is caused by shaving merely one
    handle 250 and the lower latch connected to rod 260. If a         end of spacer 176 to be oblique so as to align pin 180 with
    user attempts to raise finger handle 250, but does not slide      pivot axis A or by providing for the singular frame portion
    finger slide 266 to the open position, latch 268 will prevent     206. However, this obliqueness is difficult to detect visually
    the finger handle 250 from being raised. If the finger slide      with the human eye. This obliqueness of the gate 14 may be
    266 is slid to draw in the distal end of the latch 268 and out 40 cured by providing a pivot connection 281 shown in FIG.
    of opening 272, then the finger handle 250 may be raised and      6A, where such pivot connection 281 includes a spacer 282
    the lower latch may be disengaged from its latch receiver (as     having a pair of ends 284, 286 that are parallel to each other,
    shown in FIGS. 2A and 2B). Gate 154 may be automatically          as opposed to the ends of spacer 176 in FIG. 3A, where the
    closed because the lateral through opening 272 swings over        ends are oblique relative to each other so as to align the pivot
    the distal end of the latch 268, because one of the ramps 280 45 pin 180 on axis A. Spacer 282 is tubular. Pivot connection
    push the second latch 274 inwardly, and because one of the        further includes a spacer 288 disposed between pin head 181
    ramps 143 oflower latch apparatus 16 pushes in lower latch        and piece 126. Spacer 288 is triangular in section. The hole
    132 (please see FIGS. 2A and 2B). To open gate 154, latch         or opening 290 in the upper portion of horizontal support
    262 is operated and, while slide 266 is holding the distal end    member 28 may be drilled to be aligned on axis A, whereas
    of latch 268 out of opening 272, latch 248 is operated, 50 in the pivot connection of FIG. 3A hole 188 is drilled
    whereupon gate 154 may be swung open to either face of            vertically, but whose diameter may be slightly larger than
    frame 12.                                                         the diameter of pin 180 to permit a tilting of pin 180. Spacers
       In operation, to set up the gate apparatus 10, a location      282 and 288 are nonrotatably fixed on pivot pin 180. Pivot
    between two vertical surfaces is selected. Then, if required,     connection 281 of FIG. 6Amay be used in combination with
    one or more of the extensions 20, 22 are engaged to the ends 55 the pivot connection 230 of FIGS. 4B and 6B. Whereas FIG.
    24, 26 of the barrier frame 12. Then, screw apparatus 40 are      4B shows pivot connection 230 immediately prior to opera-
    operated to squeeze the ends 24, 26 of the barrier frame 12       tion, FIG. 6B shows the pivot connection 230 in operation
    relatively toward each other until inner vertical support         where face 234 is riding on face 242 of spacer 240. With the
    member 32 of the second end 26 of the barrier frame 12 is         embodiments of FIGS. 6A and 6B, the horizontal support
    substantially parallel with vertical support member 74 of the 60 members of gate 14 are aligned with the horizontal support
    gate 14 such that upper latch 148 is engagable with upper         members of barrier 12 and the vertical support members of
    latch receiver 142.                                               gate 14 run parallel to the horizontal support members of
       In operation, to open the gate 14 from the closed position     barrier 12.
    where gate 14 is in a common plane with barrier frame 12,            A part or parts from one embodiment may be added to
    the user raises the finger handle 128, presses down on button 65 another embodiment. A part or parts from one embodiment
    146, and pushes or pulls on the gate 14 to swing the gate 14      may be replaced with a part or parts of another embodiment.
    open to either face of the barrier frame 12. It should be noted   In other words, the invention may feature a first part from a
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    first embodiment, a second part from a second embodiment,                   second lower horizontally extending portion are pushed
    a third part from a third embodiment, a fourth part from a                  into about a right angle relationship;
    fourth embodiment, and so on. Features may be inter-                    k) the first and second ends being relatively squeezable
    changed between one or more embodiments.                                   together by first, second, third, and fourth screw appa-
       Thus since the invention disclosed herein may be embod- 5               ratus, the first screw apparatus engaging the first upper
    ied in other specific forms without departing from the spirit              horizontally extending portion of the barrier frame, the
    or general characteristics thereof, some of which forms have                second screw apparatus engaging the first lower hori-
    been indicated, the embodiments described herein are to be                  zontally extending portion of the barrier frame, the
    considered in all respects illustrative and not restrictive. The           third screw apparatus engaging the second upper hori-
    scope of the invention is to be indicated by the appended 10                zontally extending portion of the barrier frame, and the
    claims, rather than by the foregoing description, and all                   fourth screw apparatus engaging the second lower
    changes which come within the meaning and range of                         horizontally extending portion of the barrier frame, the
    equivalents of the claims are intended to be embraced                       first and second screw apparatus engaging the first
    therein.                                                                   vertically running surface, the third and fourth screw
       What is claimed is:                                            15        apparatus engaging the second vertically running sur-
       1. A pressurized gate apparatus that is engaged between                  face;
    first and second vertically running surfaces and off a floor            I) the gate including first, second, third, and fourth comer
    extending between the two vertically running surfaces, com-                portions, the gate engaging the barrier frame at each of
    prising:                                                                   the first, second, third, and fourth comer portions, the
       a) a barrier frame in generally a first plane;                 20        first and upper pivot connection being engaged at the
       b) a gate engaged to the barrier frame and swingable into                first corner portion, the second and lower pivot con-
          and out of the barrier frame and into and out of said first          nection being engaged at the second comer portion, an
          plane, said gate having a pivot side and a latch side;               upper latch being engaged at the third comer portion
       c) the barrier frame having a first inner vertical support               and extending between the third comer portion and the
          member, a first outer vertical support member, a first 25            barrier frame, and a lower latch being engaged at the
          upper horizontally extending portion, and a first lower               fourth comer portion and extending between the fourth
          horizontally extending portion, the first inner and outer             corner portion and the barrier frame;
          vertical support members extending parallel to each               m) said first and upper and second and lower pivot
          other, the first upper and lower horizontally extending               connections establishing a swing axis on which the gate
          portions extending parallel to each other, the first inner 30         swings, said swing axis being oblique relative to the
          vertical support member being adjacent to the pivot                  vertical axis of the first inner vertical support member;
          side of the gate, the first inner vertical support member             and
          having an axis;                                                   n) the first and upper pivot connection between the gate
       d) the barrier frame further having a second inner vertical              and the barrier frame comprising:
          support member, a second outer vertical support mem- 35               i) a swinging portion that is fixed to the gate such that,
          ber, a second upper horizontally extending portion, and                   when the gate swings, the swinging portion swings
          a second lower horizontally extending portion, the                        with the gate;
          second inner and outer vertical support members                       ii) a receiver portion that is fixed to the frame, the
          extending parallel to each other, the second upper and                    receiver portion receiving the swinging portion that
          lower horizontally extending portions extending para!- 40                 is fixed to the gate;
          lei to each other, the second inner vertical support                  iii) the receiver portion having a face, the face having
          member being adjacent to the latch side of the gate, the                  a flat portion; and
          second inner vertical support member having an axis,                  iv) the flat portion being disposed obliquely relative to
          the second lower horizontally extending portion having                    the vertical axis of the first inner vertical support
          an axis;                                                    45            member, the swinging portion riding on the flat
       e) a first and upper pivot connection between the gate and                   portion.
          the barrier frame;                                                2. A pressurized gate apparatus that is engaged between
       f) a second and lower pivot connection between the gate           first and second vertically running surfaces and off a floor
          and the barrier frame;                                         extending between the two vertically running surfaces, com-
       g) the barrier frame being a pressure frame and including 50 prising:
          first and second ends, the first end including the first          a) a barrier frame in generally a first plane;
          inner and outer vertical support members, the second              b) a gate engaged to the barrier frame and swingable into
          end including the second inner and outer vertical sup-                and out of the barrier frame and into and out of said first
          port members;                                                        plane, said gate having a pivot side and a latch side;
       h) each of the second inner and outer vertical support 55            c) the barrier frame having a first inner vertical support
          members of the second end of the barrier frame manu-                 member, a first outer vertical support member, a first
          factured to be obtuse relative the axis of the second                upper horizontally extending portion, and a first lower
          lower horizontally extending portion of the barrier                  horizontally extending portion, the first inner and outer
          frame;                                                               vertical support members extending parallel to each
       i) said gate being between said first and second ends;         60        other, the first upper and lower horizontally extending
       j) the first and second ends being relatively squeezable                portions extending parallel to each other, the first inner
          together between said two vertically running surfaces                vertical support member being adjacent to the pivot
          to thereby resiliently push back against the vertically               side of the gate, the first inner vertical support member
          running surfaces such that the barrier frame is fixed                having an axis;
          between the two vertically running surfaces and off the 65        d) the barrier frame further having a second inner vertical
          floor and such that the axis of each of the second inner              support member, a second outer vertical support mem-
          and outer vertical support members and the axis of the               ber, a second upper horizontally extending portion, and
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         a second lower horizontally extending portion, the                zontally extending portion of the barrier frame the
         second inner and outer vertical support members                  third screw apparatus engaging the second upper hori-
         extending parallel to each other, the second upper and            zontally extending portion of the barrier frame, and the
         lower horizontally extending portions extending paral-            fourth screw apparatus engaging the second lower
         lel to each other, the second inner vertical support 5           horizontally extending portion of the barrier frame, the
         member being adjacent to the latch side of the gate, the          first and second screw apparatus engaging the first
         second inner vertical support member having an axis,             vertically running surface, the third and fourth screw
         the second lower horizontally extending portion having            apparatus engaging the second vertically running sur-
         an axis;                                                          face;
      e) a first and upper pivot connection between the gate and 10    1) the gate including first, second, third, and fourth comer
         the barrier frame;                                               portions, the gate engaging the barrier frame at each of
      f) a second and lower pivot connection between the gate             the first, second, third, and fourth comer portions, the
         and the barrier frame;                                            first and upper pivot connection being engaged at the
      g) the barrier frame being a pressure frame and including            first corner portion, the second and lower pivot con-
         first and second ends, the first end including the first 15      nection being engaged at the second comer portion, an
         inner and outer vertical support members, the second             upper latch being engaged at the third comer portion
         end including the second inner and outer vertical sup-            and extending between the third comer portion and the
         port members;                                                    barrier frame, and a lower latch being engaged at the
      h) each of the second inner and outer vertical support               fourth comer portion and extending between the fourth
         members of the second end of the barrier frame manu- 20           corner portion and the barrier frame;
         factured to be obtuse relative the axis of the second         m) said first and upper and second and lower pivot
         lower horizontally extending portion of the barrier               connections establishing a swing axis on which the gate
         frame;                                                            swings; and
      i) said gate being between said first and second ends·           n) the first and upper pivot connection between the gate
      j) the first and second ends being relatively squeez;ble 25          and the barrier frame comprising:
         together between said two vertically running surfaces             i) a swinging portion that is fixed to the gate such that,
         to thereby resiliently push back against the vertically               when the gate swings, the swinging portion swings
         running surfaces such that the barrier frame is fixed                 with the gate;
         between the two vertically running surfaces and off the           ii) a receiver portion that is fixed to the frame, the
         floor and such that the axis of each of the second inner 30           receiver portion receiving the swinging portion that
         and outer vertical support members and the axis of the                is fixed to the gate;
         second lower horizontally extending portion are pushed            iii) the receiver portion having a face, the face having
         into about a right angle relationship;                                a flat portion; and
      k) the first and second ends being relatively squeezable             iv) the flat portion being disposed obliquely relative to
         together by first, second, third, and fourth screw appa- 35           the vertical axis of the first inner vertical support
         ratus, the first screw apparatus engaging the first upper             member, the swinging portion riding on the flat
         horizontally extending portion of the barrier frame, the              portion.
         second screw apparatus engaging the first lower hori-                             *   *    *   *   *
